             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:09 CR 29-2


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                    ORDER
                                       )
GARY ROBERT FRONRATH.                  )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on January 21,

2010. It appearing to the court at the call of this matter on for hearing the defendant

was present with his attorney, Carol Ann Bauer and the government was present and

represented through Assistant United States Attorney Tom Ascik.             From the

arguments of counsel for the defendant and the arguments of the Assistant United

States Attorney and the records in this cause, the court makes the following findings:

      Findings.     On October 7, 2009 a bill of indictment was issued charging the

defendant with conspiracy to traffic in marijuana, in violation of 21 U.S.C. §

841(a)(1) and 846. On January 21, 2010, the undersigned held an inquiry, pursuant

to Rule 11 of the Federal Rules of Criminal Procedure, and accepted a plea of guilty

of the defendant to that charge. At the end of the Rule 11 proceeding, this court

presented the issue of whether or not the defendant should now be detained, pursuant




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to 18 U.S.C. § 3143(a)(2).

      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

            (A)(i) the judicial officer finds there is a substantial likelihood that
      a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence that
             the person is not likely to flee or pose a danger to any other person
             or the community.

      From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on January 21, 2010 to conspiracy to violate 21

U.S.C. § 841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C.

§ 3142(f)(1)(C). The undersigned made an inquiry of Assistant United States

Attorney Tom Ascik as to whether or not there was going to be a recommendation that

no sentence of imprisonment be imposed upon the defendant. Mr. Ascik advised the

court that such a recommendation could not be made in this matter. As a result, the

undersigned cannot find there is a substantial likelihood that a motion for acquittal or

new trial will be granted due to the plea of the defendant or that an attorney for the



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government has recommended that no sentence of imprisonment will be imposed

upon the defendant. It would thus appear, and the court is of the opinion that the court

is mandated to apply the factors as set forth in 18 U.S.C. § 3143(a)(2) which require

the court to detain the defendant.




                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter.



                                           Signed: January 26, 2010




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